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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Tracy Borchert,                            FILED ELECTRONICALLY

                    Plaintiff
v.

GC Services, LP,

                    Defendant


                                   COMPLAINT

                                  I. Introduction

      1.      This is an action for damages brought by an individual consumer

for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

(“the Act”) which prohibits debt collectors from engaging in abusive, unfair,

and deceptive practices.

                            II. Jurisdiction and Venue

      2.      Jurisdiction of this Court is proper pursuant to 15 U.S.C.

§ 1692k(d), which permits an action under the Act to be brought in any court

of competent jurisdiction.

      3.      Venue in this district is proper in that Defendant transacts

business here and the conduct complained of is alleged to have occurred here.
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                                    III. Parties

      4.      Plaintiff, Tracy Borchert, is a natural person residing at 79 Miller

Drive, Apt. 3, Honesdale, PA 18431.

      5.      Defendant, GC Services, LP, (“the Collector”) is a limited

partnership engaged in the business of collecting debts in this state with a

place of business located at 6330 Gulfton St., Houston, TX 77081‐1108 and is a

“debt collector” as defined by the Act, 15 U.S.C. § 1692a(6).


                              IV. Statement of Claim

      6.      On or after February 16, 2010, the Collector was attempting to

collect an alleged account (“the Account”) from Plaintiff.

      7.      The Account is a “debt” as that term is defined by the Act, 15 U.S.C.

§ 1692a(5).

      8.      The collector regularly uses the telephone and mails to attempt to

collect consumer debts alleged to be due another.

      9.      Between February 16, 2010 and March 17, 2010 the Collector

caused at least three telephone calls (“the Calls”) to be placed to Plaintiff.

      10.     During each of the Calls, the Collector left a message (“the

Messages”) for Plaintiff.




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         11.   15 U.S.C. § 1692e(11) requires a debt collector to disclose that the

communication is from a debt collector in each communication with a

consumer.

         12.   In each of the Messages, the Collector failed to disclose that the call

was from a debt collector.

         13.   15 U.S.C. § 1692d(6) requires a debt collector to provide a

meaningful disclosure of identity in each communication with a consumer.

         14.   In each of the Messages, the Collector failed to provide this

meaningful disclosure because it did not state the name of the Collector, or the

purpose of the call.

         15.   The Calls and the Messages were attempts to collect the Account.

         16.   Defendant violated the Act , 15 U.S.C. § 1692, subsections d(6) and

e(11).

         WHEREFORE, Plaintiff demands judgment against Defendant for

damages, costs, attorney’s fees, and such other and further relief as the Court

deems just and proper.




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                      V. Demand for Jury Trial

Plaintiff demands a trial by jury as to all issues so triable.

                                       Respectfully Submitted,



                                       s/ Kenneth W. Pennington
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